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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY

ABRAHAM ATACHBARIAN,                                  )
                                                      )    Case No. 3:21-cv-20006
                         Plaintiff,                   )
         v.                                           )    (Quraishi, J.)
                                                      )    NOTICE OF
ADVAXIS, INC.; DAVID SIDRANSKY;                       )    VOLUNTARY
JAMES P. PATTON; RICHARD J. BERMAN;                   )    DISMISSAL PURSUANT
RONI A. APPEL; KENNETH A. BERLIN,                     )    TO F.R.C.P. 41(a)(1)(A)(i)
AND SAMIR N. KHLEIF;                                  )
                                                      )
                         Defendants.                  )


           Notice is hereby given pursuant to Rule 41(a)(1)(A) of the Federal Rules of Civil

Procedure that plaintiff Abraham Atachbarian (“Plaintiff”) voluntarily dismisses this action with

prejudice as to Plaintiff’s claims. This notice of dismissal is being filed with the Court before

service by defendants of either an answer or a motion for summary judgment. Plaintiff’s dismissal

of the Action is effective upon the filing of this notice.

Dated: December 17, 2021                              LONGMAN LAW, P.C.



                                                      ______________________
                                                      Howard T. Longman
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                                                      Livingston, NJ 07039
SO ORDERED:                                           Tel: (973) 994-2315
s/ Zahid N. Quraishi, U.S.D.J.                        Fax: (973) 994-2319
Dated: 12/20/2021                                     E-mail: HLongman@Longman.Law

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